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                               NO. 18-10035

               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT
                       ______________________

                      UNITED STATES OF AMERICA,
                         PLAINTIFF-APPELLEE,

                                      V.


                       MICHAEL CAREY CLEMANS,
                        DEFENDANT-APPELLANT.
                        ______________________

        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF CALIFORNIA
                    D.C. NO. 2:15-CR-227-JAM
                     ______________________

              ANSWERING BRIEF OF THE UNITED STATES
                     ______________________




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                      STATEMENT OF JURISDICTION

     The district court had jurisdiction pursuant to 18 U.S.C. § 3231.

Judgment was entered on January 26, 2018. ER 42-43; CR 116.

Clemans filed a timely notice of appeal on January 26, 2018. Fed. R.

App. P. 4(b); ER 41; CR 117. This Court has jurisdiction pursuant to

28 U.S.C. § 1291.

                     ISSUES PRESENTED FOR REVIEW

        1. Was the evidence sufficient to support Clemans’s

           conviction for attempted travel and travel with intent to

           engage in illicit sexual conduct when he formed the

           requisite criminal intent in the United States and

           thereafter travelled to Manila, through Thailand, for the

           purpose of having sex with minors?

        2. Was the evidence sufficient to support Clemans’s

           conviction for conspiracy to travel with intent to engage in

           illicit sexual conduct when Clemans and his co-

           conspirator agreed that he would travel from the United

           States to Manila for that purpose and undertook multiple




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        overt acts in furtherance of the conspiracy while he was in

        the United States?

     3. Was the evidence sufficient to support Clemans’s

        conviction for buying children when he transmitted

        multiple offers via online chats in foreign commerce to

        obtain custody of children for the purpose of producing

        child pornography?

     4. Did the district court abuse its discretion by denying a

        Guidelines reduction under U.S.S.G. § 3E1.1, when

        Clemans failed to demonstrate acceptance of

        responsibility for the counts of conviction?

     5. Did the district court plainly err in applying the offense

        characteristic for images involving the commission of a

        sexual act or sexual contact to groups four and five, when

        the record evidence contained such images for each

        victim?

     6. When calculating the Guidelines range for the conspiracy

        counts, did the district court plainly err by failing to apply




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           the conspiracy guideline when no changes to the offense

           level would have resulted?

        7. Concerning group three, did the district court plainly err

           in applying the offense characteristic for sadomasochistic

           images when those images were relevant conduct and

           when any error could not prejudice Clemans?

        8. Did the district court plainly err by creating a separate

           group for count four when that count resulted in distinct

           harm and when any error could not prejudice Clemans?

                                BAIL STATUS

     Clemans is serving the life sentence imposed in this case.

                         STATEMENT OF THE CASE

           Clemans is a United States citizen and resident who
           sometimes worked abroad.

     Between September 30, 2012, and September 11, 2013, Michael

Clemans lived in the United States, where he is a citizen. SER II

502-05, 482-501. In 2010 through 2012, Clemans was a pilot in




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Panama and Japan. 1 PSR ¶¶ 120–21. In September 2012, he

returned home from Japan. SER II 502; PSR ¶ 120. He spent two

weeks in Fiji in March 2013. SER II 502, 483.

        In September 2013, Clemans began work for a Thai airline.

SER 21; SER II 511-12, 488; PSR ¶¶ 119–20. He obtained a non-

immigrant visa, which did not grant him residency and required he

leave Thailand every 90 days. SER II 305; SER III 726, 775. Work

took him out of Thailand frequently, satisfying his limited visa. See

SER II 482-501.

        Clemans regularly returned to Sacramento, living with his

mother for up to six months. SER III 775. After September 2013,

Clemans returned to the United States for May 2014, several weeks

in September 2014, and on April 27, 2015, after which he was

arrested in this matter in July 2015, at his mother’s home. SER II

502; SER III 631, 644. Clemans used a Sacramento bank account

associated with his mother’s address. SER II 418-81. He made wire




  1 From 1993 through 2009, Clemans lived primarily in the United
States with the exception of approximately four years he was a pilot
based in Chile. See PSR ¶¶ 122–27.


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payments that listed his mother’s contact information. SER II 402-

17; SER III 618-20; 622-27. In April 2014, Clemans had a computer

delivered to her residence, which he described as “my home.” SER

95.

              While living in the United States in 2013, Clemans
              planned with an accomplice in Manila to travel
              there for sex with minors before leaving the United
              States for that purpose.

        In September 2013, Clemans chatted online from the United

States with a person in the Philippines identified as “Nelia Cruz.”

ER 65–66, 72; SER 1-22; SER III 599-603. Clemans asked Cruz to

send him images of girls between ages eight and 17, with “shaved

pussies.” SER 4. He asked for Cruz’s “best looking” girls so he could

“choose before I arrive next month.”2 SER 2-3.

        On September 9, Clemans and Cruz discussed details of his

plan to visit Manila for sex with minors. SER 4-13. Clemans

discussed paying Cruz through Western Union. SER 4. They

discussed Cruz’s location and whether Clemans could “rent” girls in



  2 Clemans received child pornography from over 50 people,
requested images from 23 people, and discussed traveling to the
Philippines for sex with girls with 11 people. SER III 738-41.


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her apartment. SER 5; SER III 664. Clemans understood they could

not bring young girls to a hotel, and they discussed renting a condo,

which Clemans said he had “tried . . . before.” SER 5-6.

     Clemans said he planned to travel to Manila “next month,” but

was leaving for another location first. SER 6. He reviewed photos

Cruz sent and identified a 14-year-old girl as “the type of look I

want.” SER 6-7. Clemans offered Cruz money to send him photos of

girls, but insisted they “must be available to rent next month.” SER

7. Clemans said, “I would like to choose . . . before I come.” SER 7-8.

     Clemans sought reassurance he could trust Cruz for “good

business” and warned he did not “want problems with the police.”

SER 8. He proposed meeting at a nearby mall called “[M]arket

[M]arket” when he arrived; Cruz agreed. SER 8-9. They discussed

his security concerns and his preference to arrive at night, without

girls. SER 8-9.

     They negotiated over price. SER 12. Cruz requested $250 per

girl. SER 12. Clemans explained, “I have been paying $50 for girls

in [M]anila overnight.” SER 12. To pay more, he insisted he

“need[ed] quality” virgins. SER 12. He offered $200 “for more than



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one day,” but less for under 12 hours. SER 12. He reviewed photos

of Cruz’s apartment to assess it as a location for sex with girls and

suggested he might buy another mattress, “depending on the quality

of the girl” Cruz offered. SER 11-12.

     On September 9, Clemans said he would not arrive for several

weeks and asked Cruz to “be patient.” SER 13. He explained he

would provide his flight information “in a couple weeks,” and they

would continue planning. SER 13. He agreed to send money soon to

“prove” he could. SER 13. On September 10, he said he was

“preparing to leave” for Thailand and would contact Cruz from

Bangkok. SER 14.

                  Clemans traveled in foreign commerce to
                  Thailand and on to Manila, affirming the
                  intent he formed in the United States.

     On September 11, Clemans told Cruz he was in an airport, “en

route” to Thailand. SER 15. He revealed his first name and asked

about condos to use “during my stay with the girls.” SER 16-17. He

explained he did not “want to have to fight with the girls about

fucking them on a hard floor.” SER 18. That day, Clemans flew from

Seattle to Korea. ER 61; SER II 502, 485; SER III 642-48.



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     Clemans arrived in Thailand on September 13. SER II 485;

SER III 661. His initial visa required him to leave within 30 days.

SER 21; SER II 485. He slept in an apartment in Bangkok while not

working. SER III 778. On September 14, he told Cruz he planned

“to come to Manila shortly,” possibly in “two or three weeks.” SER

20. However, Clemans’s work delayed the quick trip to Manila he

planned. SER 21. Complying with his visa, Clemans visited Laos in

October 2013. ER 133–36; SER II 485.

     Thereafter, Clemans cemented details with Cruz. SER 23-77.

He requested more photos and revisited pricing. SER 23-24. He

insisted Cruz “promise” to produce girls, shared his full name, and

instructed her how to pick up money he wired. SER 27-40. On

October 8, Clemans selected “Bebe,” a 12-year-old, from a photo.

SER 31-33; SER III 669-70. He said 12 was a “good age” and assured

Cruz he would find a date to visit Manila “early.” SER 32-33. He

asked Cruz, “What will [Bebe’s] mother say when I want to fuck her

daughter,” and Cruz said he would be allowed if he paid. SER 33.

     On October 14, Clemans told Cruz he would arrive in Manila in

10 days. SER 42. After missing that date, he told Cruz on November



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3 he hoped to arrive “Friday possibly.” SER 44. On November 5,

Clemans told Cruz he was arranging a ticket for the weekend and

planned to spend “3 or 4 days” in Manila. SER 44. He reminded

Cruz that “usually girls that are 9 and under are difficult to have sex

with” and that he would “be doing anal with the girls as well but

[would] be gentle.” SER 46. He warned, “I don’t want any

complaints.” SER 46.

     On November 11, Clemans informed Cruz he would be in

Manila that week and requested more photos. SER 50. The next

day, Clemans selected a second girl, 11-year-old “Jessa,” who Cruz

described as “not yet period” and Clemans described as “the type of

girl I’m looking for.” SER 51-53; SER III 675-76. Clemans told Cruz

to have the girls “ready for fucking” and “anal,” and sent more

money. SER 56-58; SER II 404; SER III 676-81.

                  Clemans reached Manila and had sex with
                  minor girls.

     On November 13, Clemans flew to Manila and arranged to

meet Cruz at Market Market. SER 61; SER III 682-84. Cruz failed

to appear and explained the girls refused anal sex and only wanted

to “play,” which angered Clemans. SER 63-24; SER III 685-86. He


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replied, “I don’t play. I fuck.” SER 67. He told Cruz, “I only have a

few days here. I am not going to waste a day.” SER 66. He

reminded her, “I am here to fuck a virgin.” SER 67-75; SER III 686.

     Clemans abandoned his effort with Cruz and, on November 15,

turned to another contact identified as “Juvy Malicdem,” whom

Clemans paid to arrange for sex with two underage girls, at least one

of whom resisted him. SER 78-91; SER III 683-93. Clemans was

disappointed that neither was a virgin and wanted to “see some

blood” on his next visit. SER 91-93. Clemans later gloated to Cruz

he had met young girls “with much success.” SER 76; SER III 771.

           In 2014–2015, Clemans bought children to produce
           sexually explicit images and conspired to travel
           from Sacramento to Manila with the intent to
           engage in illicit sexual conduct with his child
           victims.

                  Tandeg accepted Clemans’s offer to commit a
                  variety of child exploitation crimes.

     Between June 2014 and July 2015, Clemans chatted online

with Lyan Tandeg, a Philippine national, in pursuit of explicit

images of, and sex with, young girls. ER 87–92, 101; SER 114, 99-

400. Clemans proposed a plan in which he would (1) buy Tandeg a

camera; (2) pay to rent a place; (3) pay for explicit photos of girls


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Tandeg obtained, and more for sex with them; (4) pay Tandeg for

photo sessions she managed; and (5) stay at a rental when in Manila.

SER 108. Clemans cautioned, “if I see one of the girls I want sex

with, I will want you to keep her there with you until I arrive.” SER

107. He emphasized he could “get photos anytime off the internet”

and wanted sex with girls Tandeg obtained—“the young the better.”

SER 114-15, 130 131, 159-61. Tandeg agreed to the partnership.

SER 114-15.

     Between June 2014 and July 2015, Clemans paid Tandeg

$5,775 to support their criminal agreement, including for a camera; a

computer; multiple photo shoots; and the virginity of two victims.

SER II 390-92, 403-81, SER III 706-07, 711-13, 721-26. This timeline

presents Clemans’s payments to Tandeg during the period:




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                     Clemans’s criminal plan included his offer that
                     Tandeg take custody and control of children to
                     produce child pornography for him.

        Their plan included taking custody of and transporting girls for

explicit photoshoots according to Clemans’s specifications. SER 101,

107-15, 223; SER III 774. Clemans envisioned Tandeg as a manager

on whom he could rely to interface directly with girls for explicit

photos and sex. SER 103-05, 193; SER III 712-13. Clemans paid

Cruz a “salary” and was her “boss” in their “business.” SER 144, 166,

173, 229, 234, 252, 289-90. They discussed paying girls’ parents, or

preying on orphans, typhoon victims, and runaways.3 SER 104, 111,

115, 125, 205-06, 211. Clemans compared taking custody of girls for

photos and sex to “renting a car,” adding, “We can return the girl

after a few days.” SER 193-94. After selecting victims, Clemans

paid Tandeg to “buy” their virginity, which he planned to take during

visits to Manila and have Tandeg photograph. SER 131, 161, 209-11,

224; SER II 388; SER III 721-26, 730-31.




  3 Clemans was “looking for girls that are homeless that will not
argue and have no obligation but [to] have sex.” SER 211.


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     In response to Clemans’s offer, Tandeg found at least three

girls to photograph: “Ishin” (J.U.), age 11; “Nicole” (E.S.) age 10; and

“Angel” (M.Q.), age seven. SER 108; SER II 534, 553; SER III 611,

786-87. Tandeg photographed Ishin once, Nicole twice, and Angel

four times, accumulating more than 3,000 explicit images of them for

Clemans. SER II 531-67, 534, 553; SER III 786, 633-42, 616-19, 784-

94. Clemans sent Tandeg examples of how to pose the girls,

dictating the appearance of their hair, bodies, and faces. SER 105,

141-42, 170, 197, 208, 227-29, 232; SER III 708-10, 712, 715-16. He

directed Tandeg to focus photos on a girl’s “hymen . . . up close . . .

pussy and butt hole. :)” SER 203. Tandeg upload photos into cloud

storage for him. SER 223-23, 250; SER II 350; SER III 604-17, 773.

Tandeg also stored photos, at Clemans’s direction, on a thumb drive

he planned to retrieve while visiting Manila. SER 223, 233, 250-51;

SER II 357; SER III 636-37.

                  Clemans made general and specific offers to
                  obtain custody of girls for explicit photoshoots
                  and planned sex with his victims.

     Clemans viewed his offers to Tandeg as direct offers to the girls’

guardians. SER 194 (“If I offer Angel’s mother $150–$200 USD, I



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would need to keep her for four days and nights.”). Moreover,

Tandeg proved she was able to obtain custody of girls in response to

Clemans’s offers by delivering explicit images of girls over multiple

sessions. SER II 534, 553; SER III 786. Within a week of Clemans’s

initial June 25 offer, Tandeg arranged a photoshoot of a minor in a

hotel. SER 124, 126-29, 131.

     Clemans’s later, more specific offers were often accompanied by

payments. On June 30, Clemans offered Tandeg $250 to shoot 300

explicit photos of a girl he knew Tandeg would transport to a hotel

without her parents knowledge. SER 136-39, 230; SER III 706-07.

On July 20, Clemans asked Tandeg to photograph the girl again.

SER 163 (“If I arrange another photoshoot, do you think you can get

closer to the girl and focus on her pussy this time?”). He requested

300 images, delivered sample poses, and sent Tandeg $300. SER

163-77; SER II 409, 447.

     On July 1, Clemans negotiated to pay Tandeg to take four girls

to a hotel for explicit photographs. SER 145-57. One girl was a 4-

year-old Clemans told Tandeg to photograph “if she is cute.” SER

150-51. Clemans reminded Tandeg to “decide the best hotel for me



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and the girls for sex later.” SER 151. Clemans paid Tandeg $550 for

several photoshoots and to buy a computer. SER 156; SER III 710-

12.

                     Tandeg arranged photoshoots as Clemans
                     planned travel to Manila for sex with victims.

        On July 27, Clemans and Tandeg planned a photoshoot of

Angel. SER 191. Clemans declared Angel “ready for sex” and

planned to “arrange that later when I come.” SER 192. Clemans

reminded Tandeg to “never mention” where they were taking the

girls. SER 193.

        On September 6, Clemans paid Tandeg $300 and instructed her

to arrange a photoshoot with Nicole and two new “models.” SER 202-

08; SER II 411, 456. Clemans was in the United States then and

proposed traveling directly to Manila for sex with Angel and Nicole.

SER 206-10; SER II 502; SER III 631, 644. He suggested using

pornography to teach them about sex and warned he would not “rush

to break their hymens.” SER 209, 211. He planned “to use some

force doing anal” and discussed consequences of injuries or

pregnancy. SER 218-20, 211-16. Clemans postponed his trip to

Manila because Angel was afraid to have sex and Nicole was not


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“ready.” SER 215, 219-21. He told Tandeg he was “not interested in

investing money for photos of models I will not be able to fuck.” SER

215, 218, 224.

                  Clemans “bought” his victims’ virginity and
                  planned to travel for sex with them.

     On September 14, before leaving the United States, Clemans

made offers to Tandeg for more photoshoots with Nicole and others.

SER 224. Clemans stated, “I would like to do more photos with

[Nicole] if she agrees to do vaginal and anal sex during my next visit.

I want to have a photo-session of us together having sex for my

collection. . . .” SER 224. Clemans stated Nicole “owed” him 100

photos because “I only received under 300 for this last photoshoot.”

SER 224.

     Clemans spent the next month planning sex with Nicole and

Angel during a visit to Manila. SER 225-292. During that period, he

paid Tandeg to “buy” Angel and Nicole and, on October 28, reminded

Tandeg that he had “already bought Angel and Nicole. They will

always be available for our photoshoots whenever we want them to

pose.” SER 292; SER III 620-23; 721-26. Clemens made specific

offers and payments for each—Nicole on September 17 and Angel on


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October 20—to purchase sex and additional explicit photoshoots. 4

SER 225-29, 256-65; SER II 456, 412, 460, SER III 795. Tandeg

completed a photoshoot of the girls together in early November, and

Clemans paid her $200. SER 265, SER II 293-96, 413, 464.

Thereafter, Clemans pursued photos of others, but believed he had

“purchased” Angel and Nicole for unlimited photo sessions and sex.

SER 252; SER II 302, 307-24.

         He warned, “It might take me three months to get there to visit

. . . [and] I will need Angel and Nicole ready for me. . . . I will need

both the girls available to me for as long as I want during my visit

. . . It might be a couple of weeks and [they] will not be able to go

home at night.” He concluded, “Once I pay the money in full, Angel

is our[s] to do as we please.” SER 261-62.

         On February 19, 2015, Clemans sent Tandeg $225 in support of

an offer for photographs of Angel and Ishin, whom they called “the

mix.” SER II 336, 342, 349-50, 415, 473. Clemans reminded Tandeg




   4Tandeg falsely told Clemans Angel was an orphan and Nicole’s
parents lived in rice fields, but demonstrated she could secure
custody over both. SER 205-06, 239-43; SER III 732-33, 761-62.


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the photos should “confirm whether these girls are truly virgin or

not,” and he did “not want to be disappointed when I come visit them

this year.” SER _ (Ex. 49). He instructed Tandeg to find more girls

and instructed Tandeg to “[m]ake sure these girls pose exactly the

way I like . . . I want them to open themselves up to me [and] give

themselves to me like their first lover. :)” SER II 342.

       On April 23, Clemans sent $600 to Tandeg’s sister to pay, in

part, for more photoshoots. SER II 365-66, 416, 477; SER III 703.

Clemans instructed Tandeg to use some of the money to arrange

photoshoots with Angel and Ishin. SER 361-69, 378-80, 384. Three

days later, Clemans asked about contraceptives: “So if I wanted to

get pills for the girls I fuck, do I have to buy from Amazon.com or can

I buy through a pharmacy there?” SER II 370. He asked whether a

pharmacy would sell pills without a prescription if he paid more, and

wondered, “What strength do I buy for a girl who is 12 or 13.” SER

371. Clemans told Tandeg he was leaving for the United States the

next morning and might travel directly back to the Philippines. SER

372.




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                  Clemans returned to the United States, was
                  arrested and released, and planned to travel
                  directly to Manila for sex with his victims.

     On April 27, 2015, local law enforcement agents arrested

Clemans at the San Francisco airport for possessing child

pornography. SER II 508-13; SER III 729. They seized his passport

and released him, and by April 29, Clemans had accessed his cloud

storage account from his mother’s home in Sacramento. SER II 512-

15, 374-75; SER III 594-98. The same day, Clemans instructed

Tandeg to “Stop all photoshoots” but she had completed a session the

day before. SER II 373.

     In early May 2015, chatting with Tandeg from his mother’s

home, Clemans told Tandeg he had been arrested. SER II 374-75.

He said he would “know in a few months how this is going to end,”

and that he would “pay the price” if convicted and leave the United

States permanently to live with Tandeg. SER II 374-76. He stated,

“I will not live here in the United States any longer.” SER II 376.

     Clemans asked Tandeg “how much” it would cost to buy Ishin

and proposed visiting Tandeg in June, July, or August “for 4 or 5

days.” SER III 730. He told Tandeg: “I want to make love to you



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and the girls . . . I think it will be more comfortable for them.” SER

II 380. He suggested Tandeg “find a nice location” and asked her to

set up a new cloud storage account and “upload half of the photos” of

Ishin and Angel so he could review them in Sacramento. SER II 380.

     On May 5, Clemans sent Tandeg $300 to help pay for internet

access and expenses. SER II 381-82, 417, 481. After sending the

money, Clemans instructed Tandeg: “be sure that we do not lose

[Ishin].” SER II 382. Tandeg confirmed Ishin was “ready for sex.”

SER II 384-86. Clemans instructed Tandeg to find a week-long

rental for his visit and reminded her he wanted sex with Ishin and

Angel—“But it must be private.” SER II 387-88. Tandeg responded,

“I will be a photographer,” and Clemans complimented photographs

she shared on girls urinating together. SER II 388-89; SER III 732.

     Later, Clemans became convinced Ishin was not a virgin and

focused his sexual interest on Angel. SER II 391-93. He worried

about “protect[ing]” Angel’s virginity and instructed Tandeg to take

more photographs of Angel and find another “mix.” SER II 394-99.

Clemans told Tandeg, “spread [Angel’s] lips wide open so I can see . .

. but I do not want anything placed inside her labia lips to tear her



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hymen . . . you have to be careful not to stretch it [too] wide.” SER II

397. Tandeg assured Clemans “Angel is yours.” SER II 397. Tandeg

uploaded previously-deleted photos of Angel for Clemans, who

accessed them in Sacramento. SER II 398-400; SER III 612-13.

     On July 17, Clemans asked Tandeg about Angel and warned he

“better not find out that she [was] sold . . . to another.” SER III 797.

Clemans said he would remain in Sacramento “until late August”

and expected his passport to be returned “around the first of

September,” after which he would “probably” go to Thailand but, “if

not, I will come visit you . . . before I return to Bangkok.” SER III

798. Clemans asked Tandeg to “arrange for a week with a few of the

girls,” and she agreed. SER III 798.

     On July 24, federal agents arrested Clemans at his mother’s

home in Sacramento. SER III 631.

                  Clemans gave investigators access to his
                  Yahoo! account.

     Weeks after his arrest, Clemans agreed to turn over the

password to his Yahoo! account to federal investigators, who used it

to introduce an undercover persona to Tandeg. SER III 735-36, 764.

See ER 16–17. Investigators turned over the new undercover


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account to a human rights organization employee who worked with

Philippine investigators to arrange an operation that resulted in the

arrests of Tandeg and her co-conspirator, Shellina Atad. SER II 519-

30; SER III 735-36.

           On the first day of trial, Clemans pleaded guilty to
           three counts, including conspiracy to produce child
           pornography; a jury convicted him of the
           remaining counts.

     On August 24, 2017, a grand jury returned a second

superseding indictment charging Clemans with attempted

travel/travel with intent to engage in illicit sexual conduct (count

one); conspiracy to travel with intent to engage in illicit sexual

conduct (count two); conspiracy to produce child pornography (count

three); buying children (count four); attempted production/production

of child pornography (count five); and receipt of child pornography

(count six). 18 U.S.C. §§ 2423(b) and (e), 2251(c) and (e), 2251A(b)(1),

2251(c), 2252(a)(2); ER 199–212; CR 79.

     On August 28, the first day of trial, Clemans entered guilty

pleas—without a plea agreement—to three of the six charges against

him: conspiracy to produce child pornography (count three);

attempted production/production of child pornography (count five);


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and receipt of child pornography (count six). 18 U.S.C. §§ 2251(c)

and (e), 2252(a)(2); CR 89.

     After a four-day trial, a jury convicted Clemans of the

remaining charges. CR 97. Clemans made a motion for judgement of

acquittal under Federal Rule of Criminal Procedure 29, which the

district court denied after the verdict. ER 30–40.

            The district court sentenced Clemans to life in
            prison.

     The court calculated Cleman’s sentencing range using the 2016

Guidelines Manual. PSR ¶ 28. The counts of conviction were divided

into six groups. See U.S.S.G. § 3D1.2.

     Group one included count one, travel and attempted travel with

intent to engage in illicit sexual conduct. PSR ¶¶ 29–35. At

Clemans’s request, the court used U.S.S.G. § 2G1.3 to determine an

adjusted offense level of 34. ER 4; CR 109 at 3, 111 at 5–6. The

court apparently found a base offense level of 24, added two levels

under § 2G1.3(b)(4) because the offense involved a sex act, and added

eight levels under § 2G1.3(b)(5) because the offense involved a minor

under 12.




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     Group two included count two, conspiracy to travel with intent

to engage in illicit sexual conduct. Again at Clemans’s request, the

court used § 2G1.3 to determine an adjusted offense level of 36. ER

4; CR 109 at 3, 111 at 5–6. The court apparently found a base

offense level of 24, added two levels under § 2G1.3(b)(4) because the

offense involved a sex act, added eight levels under § 2G1.3(b)(5)

because the offense involved a minor under 12, and added two levels

under § 3B1.1 because Clemans supervised Tandeg and Atad.

     Group three included counts three, five, and six—conspiracy to

produce child pornography, attempted production and production of

child pornography, and receipt of child pornography—concerning

Angel. PSR ¶¶ 43–55. The offense level was calculated under

§ 2G2.1. PSR ¶ 46. The base offense level was 32. PSR ¶ 47. Four

levels were added under § 2G2.1(b)(1)(A) because Angel was under

12. PSR ¶ 48. Two levels were added under § 2G2.1(b)(2)(A) because

the offense involved a sexual act or sexual contact. PSR ¶ 49. Four

levels were added under § 2G2.1(4)(A) and (B) because Clemans

received images portraying sadistic or masochistic conduct and

images including infants and toddlers. PSR ¶ 50. Two levels were



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added under §§ 2G2.1(b)(6)(B)(i) and (ii) because the offense involved

use of a computer. PSR ¶ 51. Two levels were added under

§ 3B1.1(c) based on Clemans’s leadership role. PSR § 53. The

adjusted offense level was 46. PSR ¶ 55.

     Group four included counts three and five concerning Nicole.

PSR ¶¶ 56–64. The offense level was calculated under § 2G2.1. PSR

¶ 57. The base offense level was 32. PSR ¶ 57. Four levels were

added under § 2G2.1(b)(1)(A) because Nicole was under 12. PSR

¶ 58. Two levels were added under § 2G2.1(b)(2)(A) and two levels

were added under §§ 2G2.1(b)(6)(B)(i) and (ii). PSR ¶¶ 59, 60. Two

levels were added under § 3B1.1(c) based on Clemans’s leadership

role. PSR ¶ 62. The adjusted offense level was 42. PSR ¶ 55.

     Group five included counts three and five concerning Ishin.

PSR ¶¶ 65–73. The base offense level and enhancements were

determined in the same manner as group four, with the same

conclusions. The adjusted offense level for group five was calculated

at 42. PSR ¶ 73.

     Group six included count four, buying children. PSR ¶¶ 74–79.

Under § 2G2.3, the base offense level was 38 and there are no specific



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offense characteristics. PSR ¶ 74. The adjusted offense level for

group six was 38.

     The offense were grouped:

Group                     Adjusted Offense Level         Units
Group one                 34                             0.0
Group two                 36                             0.0
Group three               46                             1.0
Group four                42                             1.0
Group five                42                             1.0
Group six                 38                             0.5
Total units                                              3.5


     Adding four levels to group three resulted in a combined offense

level of 50, seven levels above the highest level on the Sentencing

Table. See U.S.S.G. § 3D1.4; PSR at 29. Clemans sought a two-level

downward adjustment for acceptance of responsibility under § 3E1.1,

which the court denied because Clemans did not clearly demonstrate

acceptance of responsibility for all charges. ER 6; PSR ¶ 85.

     The Guidelines operated to lower the offense level to 43. PSR

¶ 86. Clemans was in criminal history category I, (PSR ¶¶ 92–94),

and his advisory sentencing range was life imprisonment. PSR

¶ 135. The court adopted that range and noted that count four

required a mandatory minimum sentence of 30 years. ER 23. The


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court declined to vary downward and imposed 360 months on each of

counts one, two, three, and five, life on count four, and 240 months

on count six, all to run concurrently for a total term of life

imprisonment. ER 26.

                        SUMMARY OF ARGUMENT

      This Court should affirm Clemans’s convictions and sentence.

Sufficient evidence supported the jury’s determination that Clemans

was guilty of the charged crimes beyond a reasonable doubt, and

there was no reversible error in the district court’s imposition of a

sentence of life in prison.

      1. The evidence supporting Clemans’s conviction for

travel/attempted travel with intent to engage in illicit sexual

conduct, viewed in the light most favorable to the government, is

more than sufficient for a rational trier of fact to find him guilty

beyond a reasonable doubt. Clemans’s 2013 chats with his

accomplice (Cruz) demonstrated that he formed the requisite

criminal intent, while in the United States, to travel to Manila for

sex with young girls and then traveled for that purpose, with a

planned stop in Thailand.



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     The evidence also showed Clemans never intended to

permanently re-settle in Thailand and was traveling between

September 2013 and April 2015, while he was a pilot based in

Bangkok. During that time, Clemans’s visa required him to leave

Thailand regularly, he returned to the United States multiple times,

used a United States bank account, and described the United States

as his “home.” The evidence was more than sufficient for a rational

trier of fact to find his travel from the United States through

Thailand and on to Manila was continuous.

     2. Likewise, the evidence supporting Clemans’s conviction for

conspiracy to travel with intent to engage in illicit sexual conduct,

viewed in the light most favorable to the government, is more than

sufficient for a rational trier of fact to find him guilty beyond a

reasonable doubt. Clemans’s 2014-2015 chats with his co-conspirator

(Tandeg) demonstrated their agreement that Clemans would travel

to the Philippines for sex with underage girls after selecting victims

from explicit images Tandeg took. They committed multiple overt

acts in furtherance of the conspiracy, including Clemans’s payments

of more than $5,700 to Tandeg for a camera, explicit photos, and the



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virginity of victims. More than once, the two discussed Clemans’s

travel from the United States to the Philippines to complete their

conspiracy.

     3. The evidence supporting Clemans’s conviction for buying of

children, viewed in the light most favorable to the government, is

also more than sufficient for a rational trier of fact to find him guilty

beyond a reasonable doubt. Clemans made repeated offers to Tandeg

that she obtain custody of underage girls to create explicit images.

He stipulated that those offers, transmitted in online chats, moved in

foreign commerce. Tandeg complied with Clemans’s instructions

regarding the kind of girls and images he wanted, including how to

pose the girls and what camera settings to use.

     After Tandeg proved she could satisfy Clemans’s offers to

obtain custody and control of victims, he made offers to personally

take physical custody of the girls, in future trips to the Philippines,

when he intended to rape the girls and participate in explicit photo

sessions with them and Tandeg. Clemans supported those offers

with payments to Tandeg. The evidence was also sufficient to

establish that Clemans’s offers, supported by wire payments from the



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United States to the Philippines, were communicated affecting

interstate or foreign commerce, sufficient to trigger the statute’s

reach.

     4. The court did not abuse its discretion by finding Clemans

was not entitled to an offense level reduction for acceptance of

responsibility. Clemans did more than make legal arguments at

trial. Additionally, in a presentence interview Clemans offered self-

serving justifications for his conduct and, at sentencing, elected not

to affirmatively accept responsibility for his crimes. The court

correctly concluded he failed to meet his burden to demonstrate

acceptance of responsibility.

     5. The district court correctly added two levels to Clemans’s

offense level in groups four and five because his offense involved

sexual acts and sexual contact between his victims. The evidence

contained multiple images produced at Clemans’s direction depicting

sexual acts and sexual contact affecting those victims, including

images Clemans discussed in chats with Tandeg. Those images were

made available in pretrial discovery to Clemans’s counsel and several

are filed under seal with this Court.



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     6. The court did not plainly err by applying § 2G2.1 to calculate

the offense level for group three, instead of § 2X1.1. Tandeg

completed all of the acts the conspirators believed necessary on her

part, and the conspiracy was substantially complete when Clemans

was arrested before leaving the United States for the Philippines.

Consequently, a reduction under § 2X1.1(b)(2) was inapplicable.

Clemans’s offense level and sentence would not have changed under

§ 2X1.1.

     7. There was no plain error in the application of an

enhancement for Clemans’s possession of images portraying sadistic

or masochistic conduct or infants and toddlers. There was no ex post

facto violation because the images satisfied offense characteristics in

the 2014 and 2016 versions of § 2G2.1(b)(4). Additionally, group

three, to which the enhancement applied, included the receipt of

child pornography offense. Thus, the court could reasonably have

found those images relevant conduct for the offense of conviction.

Any error could not have affected Clemans’s substantial rights.

     8. The addition of a separate offense group for Clemans’s crime

of buying children was not plain error. The court could have



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reasonably concluded the offense of buying children posed a distinct

risk of harm to Clemans’s victims and was not part of one composite

harm with other offenses. Creation of a separate group based on this

distinct harm could not have affected Clemans’s substantial rights.

                                 ARGUMENT

           The evidence was sufficient to sustain Clemans’s
           convictions for travel and travel with intent to
           engage in illicit sexual conduct.

                  Standard of Review

     This Court reviews sufficiency of the evidence claims de novo,

to see “whether, after viewing the evidence in the light most

favorable to the prosecution, any rational trier of fact could have

found the essential elements of the crime beyond a reasonable

doubt.” Jackson v. Virginia, 443 U.S. 307, 319 (1979).

                  The evidence demonstrated Clemans formed
                  an intent to travel from the United States to
                  Manila for sex with minors and did travel from
                  the United States for that purpose.

     The evidence was more than sufficient to prove Clemans

traveled from the United States to Manila after forming the intent to

engage in illicit sexual conduct and traveled for that purpose. This

Court should affirm Clemans’s conviction.



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     As charged here, 18 U.S.C. § 2423(b) punishes “a United States

citizen . . . who travels in foreign commerce, for the purpose of

engaging in any illicit sexual conduct with another person.” “An

offender violates the law when he embarks on travel with the

requisite illicit purpose . . . and mere stops along the way do not

deprive travel of its territorial nexus to the United States.” United

States v. Weingarten, 632 F.3d 60, 71 (2d Cir. 2011); United States v.

Bredimus, 352 F.3d 200, 208, 210 (5th Cir. 2003) (finding “foreign

travel with criminal intent” when defendant travelled from Texas to

Thailand with stops in Japan and Hong Kong); cf. United States v.

Pendleton, 658 F.3d 299, 304 (3d Cir. 2011) (comparing § 2423(b) to

§ 2423(c) and observing that a violation of § 2423(b) “is complete as

soon as one begins to travel with the intent to engage in a sex act

with a minor”).

     Here, the overwhelming evidence proved that in the first 10

days of September 2013, Clemans formed an intent to travel from the

United States—where he lived at the time—to Manila to rape

underage girls, and then left the United States and travelled in

foreign commerce for that purpose. In chats from the United States



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with Cruz, in Manila, Clemans requested images of minor girls he

could choose from “before I arrive next month.” SER 2-3. He

planned to wire money to Cruz and asked to “rent” girls in Cruz’s

apartment. SER 4-5; SER III 664. They discussed Clemans’s

expected arrival in Manila “next month” and his planned stop in

Thailand. SER 6.

     Clemans reviewed images of victims Cruz sent and insisted the

girls “must be available for rent next month.” SER 7. He haggled

over price and argued for a better deal than Cruz’s initial request for

$250 per girl. SER 12. He updated Cruz about his plans—including

from an airport—before departing the United States. ER 61; SER

12-14; SER II 485, 502; SER III 642-48. Chatting with Cruz from the

airport, Clemans told her, “I just don’t want to have to fight with the

girls about fucking them on a hard floor.” SER 18. Based on the

above, any rational trier of fact could have found the essential

elements of the crime beyond a reasonable doubt. Yet, there was

more.




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        In the 60 days before Clemans reached Manila from Thailand,

he sharpened the criminal intent he formed in the United States.5

SER 23-77. He selected specific victims, paid Cruz, and affirmed the

rendezvous point he proposed from the United States. SER 23-40,

51-53, 56-61; SER III 668-70, 675-76. He told Cruz to have his

victims “ready for fucking” and “anal,” without “any complaints.”

SER 56, 46-47. When he arrived in Manila, he reminded Cruz, “I am

here to fuck a virgin.” SER 67-75; SER III 686.

        That overwhelming evidence, which Clemans does not dispute,

(AOB at 4–7), demonstrated beyond any doubt that he formed a

criminal intent while living in the United States to travel in foreign

commerce for the purpose of sex with underage girls in Manila. He

departed the United States with that intent and sharpened it during

his travel from Seattle, through Korea and a planned stop in

Thailand, on to Manila, where he raped two underage girls. SER 6,

18, 21, 76, 90-92; SER II 485, 502; SER III 642-48; 683-84, 771. The




  5 Clemans originally planned to arrive in Manila sooner, but was
delayed by unexpected obligations. SER 21.


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district court correctly rejected Clemans’s Rule 29 motion. This

Court should affirm.

                     No authority requires a different conclusion.

        Clemans argues that United States v. Pepe, 585 F.3d 679 (9th

Cir. 2018), requires reversal of his conviction under § 2423(b).

However, Pepe concerned the interpretation of an entirely different

subsection of the statute, § 2423(c), that punishes entirely different

conduct. Clemans’s reliance on Pepe is misplaced.6

        Section 2423(c), as charged in Pepe, previously applied to a

United States citizen “who travels in foreign commerce, and engages

in any illicit sexual conduct with another person.” Pepe, 895 F.3d at

684. At issue in that case was the consequence of 2013 amendments

to § 2423(c) that applied it to a United States citizen “who travels in

foreign commerce or resides, either temporarily or permanently, in a



  6 Clemans appeals from the denial of his Rule 29 motion. Yet, he
challenges the reach of § 2423(b), an argument he did not assert in
his pre-trial motion to dismiss. CR 25. Thus, Clemans has preserved
only the claim that the verdict was based on insufficient evidence
that his travel from the United States to Manila was one trip. See
Alaska Airlines, Inc. v. United Airlines, Inc., 948 F.2d 536, 546 n.15
(9th Cir. 1991) (holding “an appellate court will not reverse a district
court on the basis of a theory that was not raised below”).


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foreign country, and engages in any illicit sexual conduct with

another person.” Id. at 684. This Court held that, prior to 2013,

§ 2423(c) did not reach citizens who were living abroad; rather, it was

aimed at prosecuting citizens who were traveling when they

committed illicit sexual conduct. Id. at 682. This Court held that the

amendments by Congress clarified the focus of § 2423(c) was not on

residency, but on travel. Id. at 691 (“[A] conviction under § 2423(c),

when based on a defendant’s travel in foreign commerce, requires

proof that the illicit sexual conduct occurred while the defendant was

traveling.”).

      Distinct from the requirements of § 2423(c), Clemans’s

conviction under § 2423(b) required proof only that he possessed the

requisite illicit purpose and embarked on travel in foreign commerce

with a territorial nexus to the United States See Weingarten, 632

F.3d at 71; Bredimus, 352 F.3d at 210. Thus, Pepe’s historical

analysis of the consequences of amendments to the particular

wording of § 2423(c) has no bearing on Clemans’s violation of

§ 2423(b). See Pendleton, 658 F.3d at 304 (“the locus delicti of §

2423(c) is the place where the illicit sex occurs, and not—as is the



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case with § 2423(b)—where the intent to engage in the illicit conduct

is formed”).

     That Pepe overruled United States v. Clark, 435 F.3d 1100 (9th

Cir. 2006), is also of no moment. See Pepe, 895 F.3d at 687–88.

While the court here considered Clark, it relied primarily on

Weingarten and Bredimus, cases interpreting § 2423(b), to find the

evidence sufficient to prove Clemans’s travel from the United States

to Manila was continuous. See ER 31–37. The court correctly held,

“[r]uling otherwise would condone Weingarten’s fear: It would

immunize Clemans from prosecution for mere stops along the way.”

Id. at 36–37.

     The jury and the court correctly rejected Clemans’s argument

that his stop in Thailand broke the territorial nexus of his travel in

foreign commerce to Manila, which Clemans undertook with the

requisite intent. ER 32–37. Those conclusions were based on the

overwhelming evidence.

     If it is relevant at all, Pepe supports Clemans’s conviction. This

Court in Pepe read the word “travels” “expansively,” and “in line with

several other circuits,” including the Fourth Circuit’s holding in



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United States v. Schmidt, 845 F.3d 153 (4th Cir. 2017). Pepe, 895

F.3d at 690. In Schmidt, the Fourth Circuit held that a person “may

still be traveling even after a significant amount of time in a given

location so long as the visit is sufficiently transient or contemplates

some future departure.” 845 F.3d at 157 (finding “travel” over 18

months when defendant did not resettle in foreign country); see also

United States v. Jackson, 480 F.3d 1014, 1023–24 (9th Cir. 2007)

(discussing alternative meanings of “travel” in § 2423(c), including

travel ending “only upon permanent resettlement in a foreign

country”).

     This expansive definition of “travels” is consistent with the jury

and the court’s rejection of Clemans’s argument that his stop in

Thailand broke the United States territorial nexus of his travel in

foreign commerce. Clemans never permanently resettled in Thailand

and did not intend to. He had lived in the United States for a year

preceding September 2013. SER II 502-05, 482-501. He did not

obtain permanent resident status in Thailand and there is no

evidence he sought such status. Rather, he held non-immigrant




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visas that required him to leave Thailand 30 days after arriving and,

later, every 90 days. SER 21; SER II 305, 485; SER III 726, 775.

        The evidence also demonstrated Clemans considered the

United States his home and had no intention of permanently

resettling in Thailand. He maintained and used bank accounts in

Sacramento, including to pay his criminal partners in Manila. SER

II 402-81; SER III 618-20, 622-27. Those payments listed Clemans’s

Sacramento contact information, not information for any Thai

residence. SER II 402-17. He maintained a United States passport

and California driver license. SER 482-501; PSR at 3. He appears

to have kept property he owned in Hawaii. 7 PSR ¶ 132.

        Clemans’s own words demonstrate that he considered the

United States his home. In April 2014, he ordered a computer

delivered to his mother’s house in Sacramento and, in an email,

described that residence as “my home” and stated, “I am overseas, at

the moment,” signaling his intention to return. SER 95. After his

arrest in May 2015, Clemans told Tandeg that if convicted, he would



  7 The jury did not see evidence of Clemans’s property holdings or
driver license but that evidence is in the record.


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leave the United States permanently to live with her. SER II 374-76.

He stated, “I will not live here in the United States any longer.” SER

II 376.

        Thus, under the expansive definition of travel set forth in Pepe

and other cases, between September 2013 and April 2015, Clemans

was traveling from the United States, with no intention of

permanently re-settling in Thailand.8 See Pepe, 895 F.3d at 691-92

(distinguishing between those who have “relocated” or “resettled,”

and those who travel temporarily, or contemplate a future departure

from their destination). See PSR ¶¶ 123, 132; SER 597, 621, 775. At

a minimum, Clemans was traveling when he continued from the

United States, through Thailand in November 2013 to Manila, to




  8  If the fact that an offender has a residence in a foreign country
were dispositive, this Court would not have remanded Pepe for
retrial. See Pepe, 895 F.3d at 682, 692 (ruling that—although Pepe
“left . . . for Cambodia in March 2003 on a one-way ticket,” “rented a
house, obtained a Cambodian driver’s license, bought a car, . . .
secured employment,” married a Cambodian citizen, and “became
involved in community activities”—the government could still prove
at retrial that “he was still traveling when he committed illicit sexual
conduct”).


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complete the travel he planned while in the United States, for the

purpose of sex with minors. This Court should affirm his conviction.

           The evidence was sufficient to sustain Clemans’s
           conviction for conspiracy to travel with intent to
           engage in illicit sexual conduct.

                  Standard of Review

     This Court reviews sufficiency of the evidence claims de novo,

to see “whether, after viewing the evidence in the light most

favorable to the prosecution, any rational trier of fact could have

found the essential elements of the crime beyond a reasonable

doubt.” Jackson, 443 U.S. at 319.

                  The evidence proved the conspirators made an
                  agreement and completed multiple overt acts
                  in furtherance of the conspiracy.

     A conviction for conspiracy to travel with intent to engage in

illicit sexual conduct, in this case, required proof that (1) between

June 24, 2014, and July 24, 2015, Clemans agreed with one or more

persons to commit the crime of travel with intent to engage in illicit

sexual conduct; (2) Clemans became a member of the conspiracy

knowing of at least one of its objects and intending to help

accomplish it; and (3) a member of the conspiracy performed at least

one overt act for the purpose of carrying out the conspiracy. See 18

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U.S.C. § 2423(b), (e). The evidence of the conspirators’ numerous

overt acts in furtherance of their conspiracy was overwhelming, and

any rational trier of fact would have found the essential elements of

the crime beyond a reasonable doubt. This Court should affirm

Clemans’s conviction.

     During the relevant period, Tandeg agreed in online chats to

take and deliver to Clemans explicit photos of young girls, and that

Clemans would select girls whom he would travel to Manila to rape.

SER 131, 161, 209-11, 224, SER II 388; SER III 721-26, 730-31.

Clemans and Tandeg agreed to a written plan that included a step-

by-step outline of each conspirator’s role and updates about which

steps remained. SER 108, 131, 148.

     Throughout the conspiracy, Clemans reminded Tandeg he could

“get photos anytime off the internet” and wanted sex with the girls

Tandeg obtained. SER 107, 114-15, 130 131, 159-61. They

frequently discussed his travel to Manila to rape his victims, both

when Clemans was in Thailand and when he was in the United

States. SER 131, 193-94, 209-11, 224; SER II 388; SER III 721-26,

730-31. In furtherance of the conspiracy, Clemans paid Tandeg at



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least $5,775 for a camera, a computer, multiple photo-shoots of his

victims, and the virginity of at least two victims. SER II 390-92, 403-

81, SER III 706-07, 711-13, 721-26. Clemans paid Tandeg from the

United States and accepted and reviewed photos Tandeg prepared

for him while he was in the United States

       In chats on October 23, 2014, Clemans instructed Tandeg to

deliver money he had sent to buy Angel’s virginity: “Any evidence

that Angel has been fucked, we get our money back. . . . But I am

paying for her now. We basically will own her to do what we want

with her.” ER 38; SER II 286-90. In May 2015, Clemans instructed

Tandeg to identify a private place to have sex with minors. ER 38;

SER II 387-88. In July 2015, while he was in the United States and

shortly before his arrest on federal charges, Clemans said he would

probably be in the Philippines by September 1st. ER 38; SER III

789.

       Clemans’s argument that the conspiracy did not contemplate

travel from the United States contradicts the evidence. Clemans and

Tandeg discussed his multiple trips home to the United States in

2014 and 2015, and more than once, Clemans presented the idea of



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traveling to Manila directly from the United States for sex with girls

Tandeg secured for him. SER 206-11; SER II 387-88, 502; SER III

631, 644, 798. The conspirators expressly discussed that possibility.

It was unnecessary for Clemans to have actually travelled to Manila

from the United States for the jury to find him guilty of the

conspiracy, and, as the court found, there was “more than sufficient

evidence” to deny Clemans’s Rule 29 motion.

     Clemans’s reliance on United States v. Bernhardt, 903 F.3d

818, 829 (8th Cir. 2018), fails. AOB at 38. Bernhardt did not concern

a conspiracy involving the numerous completed overt acts proved in

this case. Rather, it involved an attempt to violate § 2423(b), in

which the Eighth Circuit found the defendant’s desire to have sex

with a minor, mention of a hotel, and research into travel to the

Philippines was not the sort of conduct that would have resulted in a

crime if it had not been extraneously interrupted. Bernhardt, 903

F.3d at 829. Bernhardt provides no support for Clemans’s argument.

     As the court found, the evidence established that the

conspirators’ “criminal objective was [for Clemans] to travel to the

Philippines for the purpose of illicit sexual conduct and all the steps



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in furtherance of this criminal objective were accomplished but for

Clemans actual trip.” ER 38. In the light most favorable to the

government, there was sufficient evidence for a jury to find Clemans

guilty beyond a reasonable doubt for conspiring to travel with intent

to engage in illicit sexual conduct. See ER 38.

           Sufficient evidence supports Clemans’s conviction
           for buying children.

                  Standard of Review

     This Court reviews sufficiency of the evidence claims de novo,

to see “whether, after viewing the evidence in the light most

favorable to the prosecution, any rational trier of fact could have

found the essential elements of the crime beyond a reasonable

doubt.”9 Jackson, 443 U.S. at 319.




     9 Clemans’s appeal challenges the jurisdictional basis for his
conviction on this count, an argument he did not raise in his Rule 29
motion. Below, he argued that the buying children statute was
focused on whether the evidence demonstrated “custody or control.”
ER 38-40. Thus, Clemans has not properly preserved this argument.
See Alaska Airlines, Inc., 948 F.2d at 546 n.15 (holding “an appellate
court will not reverse a district court on the basis of a theory that
was not raised below”).


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                  Clemans made multiple offers that were
                  communicated and transported in foreign
                  commerce.

     There was more than sufficient evidence for a rational trier of

fact to find Clemans guilty beyond a reasonable doubt of “buying of

children,” as defined in § 2251A(b). As charged here, the crime of

buying children is committed by one who “purchases or otherwise

obtains custody or control of a minor, or offers to purchase or

otherwise obtain custody or control of a minor . . . with knowledge

that, as a consequence,” the minor will be portrayed in child

pornography. See 18 U.S.C. § 2251A(b)(1) & (2); ER 206. The

government must also prove that “any offer described [above] was

communicated or transported using any means or facility of

interstate or foreign commerce or in or affecting interstate or foreign

commerce by any means including by computer or mail.” 18 U.S.C.

§ 2251A(c)(2); see also ER 206.

     There is no dispute that Clemans directed Tandeg to obtain

custody and control of prepubescent girls for the purpose of creating

sexually explicit images and that Tandeg did so. Clemans admitted

to this course of conduct in his guilty plea before trial to the charges



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that he produced, conspired to produce, and received child

pornography. ER 191-92, 196-98.

     Nor can Clemans dispute that his voluminous chat messages

with Tandeg were communicated and transported using a means or

facility of interstate or foreign commerce. Tandeg lived in the

Philippines, ER 196, and Clemans stipulated that their

communications would necessarily have transited a server located in

the United States, ER 57; CR 87.

     Instead, Clemans contends the jurisdictional fact was not

proven because none of his communications with Tandeg constituted

an “offer” recognized by the statute, and that any offers to purchase

or obtain custody and control of children to make child pornography

were made by Tandeg to the minor victims in person, not by

Clemans. AOB at 40–41. Clemans’s argument is at odds with the

evidence and the plain language of § 2251A.

     Throughout the relevant period, Clemans repeatedly made

explicitly detailed offers to Tandeg that she obtain custody and

control of minor victims for the express purpose of creating

pornographic images. Clemans’s business proposal to Tandeg was to



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identify young virgins whom Tandeg could photograph for him so

that he could choose whom to rape when he next traveled to the

Philippines. SER 84-87. As he carried out this plan, Clemans set

the specific terms and conditions under which his offers would be

accepted and carried out, and Tandeg complied.

     Clemans’s direction of Tandeg to take custody and control of

the minor victims for pornographic “photoshoots” could hardly have

been clearer. He gave her detailed instructions regarding the girls

he wanted her to obtain and the images he wanted her to create. In

July 2014, early in their arrangement, Clemans instructed Tandeg

how to pose the girls and what camera settings to use. He told her:

           I want to see their vagina hole clear and in
           focus. Use a FINE stting on the camera and
           use MANUAL to focus on your focus points,
           Lyan. It is not so important that their faces
           are in clear focus but they must smile for the
           camera. . . . [B]e sure to check each photo you
           take. If it is not clear, try again. You have all
           day with the girl.

SER 170.

     Ten days later, he gave Tandeg extensive further direction.

SER 197. He again instructed her how to use the camera settings to

his specifications, told her to use body oil and not to let the girls wear


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jewelry. He told her to photograph Angel “as I would see her in bed.”

He said, “These girls are paid to model for us and I will not tolerate

any complaints from the girls. They will do as we say.” SER 197.

     Throughout, Clemans communicated to Tandeg that he was in

charge and that he expected his instructions to be carried out. In

September 2014, he told Tandeg what he expected in the upcoming

“photoshoot” with Nicole. He told her, “I want Nicole to open herself

up so be sure she spreads her legs wide. I hope I like this photo

shoot and she poses in the way I want her to. She will determine if I

want to see more of her. . . . I hope she performs well for me.” SER

208. In February 2015, regarding an upcoming session with Angel

and Ishin, Clemans stated, “Make sure these girls pose exactly the

way I like the photos. It might be uncomfortable for them to position

themselves in some of the poses but you have all day and I want

them to open themselves up to me.” SER 342.

     Tandeg repeatedly demonstrated she would follow Clemans’s

instructions and was capable of obtaining custody and control of

underage girls at his direction. The evidence established that,

during the relevant period, Tandeg sent Clemans hundreds of images



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from at least five photoshoots of Nicole, Angel, and Ishin. SER II

531-67, 534, 553; SER III 786, 633-42, 616-19, 784-94. Clemans

approved of the photos. See, e.g., SER 188. He sent Tandeg at least

$5,775 over time to further their business plan. SER II 390-92, 403-

81. Clemans therefore knew Tandeg could obtain custody and

control of prepubescent girls for him and had no reason to believe his

offers would not continue to be accepted and carried out.

     Because Clemans came to trust Tandeg’s ability to obtain

custody and control of his victims, he eventually made offers to

personally take physical custody of the girls himself, in future trips

to the Philippines, when he intended to rape the girls and participate

in additional explicit photo sessions with the girls and Tandeg.

These offers by Clemans unquestionably fall within the plain

language of § 2251A.

     In September 2014, Clemans offered to purchase Nicole for sex

and photos. He told Tandeg, “I want you to find out about Nicole’s

situation with her having sex now. If Angel is saying no maybe we

can get Nicole. Would her parents agree to 100 USD for two days

with her? I think Nicole is ready.” SER 223. Two days later, he



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went on: “I would like to do more photos with her if she agrees to do

vaginal and anal sex during my next visit. I want to have a

photosession of us together having sex for my collection of photos.”

SER 224.

     A few days later, after transferring $500 to Tandeg to carry out

his plan, Clemans wrote, “In return we get Nicole for a photo shoot

and sex with me for 3 days. . . . I want you to get confirmation in

writing . . . from the parents.” SER 226.

     The following month, Clemans confirmed that his payment had

been intended to secure his right to personally take custody and

control of Nicole: “There is no problem with Nicole’s parents now,

right? . . . Her parents understand that I have her for as long as I

want. It might be a couple of weeks and she will not be able to go

home at night. She stays with me.” SER 262. Tandeg responded,

“yes I already explained that to Nicole’s parents.” SER 262.

     The same day, Clemans discussed another offer to Tandeg, this

time to purchase Angel for future rapes and explicit photoshoots. He

told Tandeg, “Once I pay the money in full, Angel is our[s] [t]o do as

we please.” SER 262. He explained, “It will be more than just sex



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with her. I will need at least 7 more photo shoots in the next few

months.” SER 263.

     Tandeg told Clemans that Angel lived at an orphanage, and

Clemans believed the money to secure Angel was being paid to the

orphanage director to secure Clemans’s right to obtain future custody

and control of Angel for rapes and photos. He asked, “So Angel stays

at the orphanage and does photoshoots when you want and then

when I come I have her for as long as I want?” SER 287. After

Tandeg replied “yes,” Clemans responded, “Angel will have to do as

many photoshoots as we want then.” SER 287.

     Clemans left no doubt of his meaning or that he, not Tandeg,

was the one calling the shots. In October 2014, he again confirmed

his purchase of custody and control: “I have already bought Angel

and Nicole.” SER II 292. A month later, he stated again: “I paid

$250 for Nicole. I get to use her for photoshoots anytime we like. . . .

I can fuck her anytime I want for that money too.” SER II 302. He

went on: “How much did I pay for Angel? I think $350, right?”

Tandeg responded, “No[,] $500 if I’m not mistaken.” SER II 302.

Clemans then stated, “But I can fuck her anytime too with



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photoshoots when we want. . . . So I have bought the two girls for

our use.” SER II 302.

     Some months later, Clemans reiterated a similar offer with

respect to the third minor victim, Ishin. After Tandeg sent Clemans

images from a recent photo shoot, she asked, “do you like Ishin?”

Clemans responded, “Yes . . . I want her and Angel and you . . . But it

must be private:)” SER II 387-88). Tandeg stated, “I will be a

photographer,” and Clemans responded, “Yes.” SER II 387-88.

     This evidence was more than sufficient for any rational jury to

find that Clemans himself offered to purchase or obtain custody or

control of the victims for both sex and the production of child

pornography, and that his offers were communicated in foreign

commerce. There is no basis in the statute to conclude otherwise.

Because the statute unambiguously reaches Clemans’s conduct, no

further inquiry is required. United States v. Buculei, 262 F.3d 322,

331 (4th Cir. 2001) (rejecting the argument that the government’s

prosecution under § 2251A(b) was a “novel construction,” and stating,

“[i]f the statute unambiguously reaches the defendant’s conduct, as it

does here, our inquiry is complete”).



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     That Clemans conveyed his offers to Tandeg, rather than to the

victims’ legal guardians, is of no moment. The plain text of the

statute includes no requirement that an offer must be made directly

“to a guardian or a child” as Clemans suggests. AOB at 41. Under

well-established principles of statutory interpretation, the Court

should “resist reading words or elements into a statute that do not

appear on its face.” Bates v. United States, 522 U.S. 23, 29 (1997).

     Nothing in § 2251A(b) specifies to whom an offer must be

conveyed, or requires that the offer be conveyed to someone who

already possesses legal custody of the minor. Indeed, by

criminalizing not only those who actually purchase or otherwise

obtain custody or control of minor victims, but also those who offer to

do so, the statutory language necessarily encompasses the possibility

that custody or control will be obtained in the future. Here, Tandeg

repeatedly proved her ability to obtain custody and control of the

victims herself, at Clemans’s direction. His offers to her were made

presuming that she could and would carry them out at a future time.

The statutory language does not require more.




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     Moreover, Congress did choose to use the phrase “legal

guardian” in a different subsection of § 2251A. Section 2251A(a)

refers to a “parent, legal guardian, or other person having custody or

control of a minor.” It must therefore be presumed that Congress

intentionally chose to omit any similar language from § 2251A(b).

Russello v. United States, 464 U.S. 16, 23 (1983) (“[W]here Congress

includes particular language in one section of a statute but omits it

in another section of the same Act, it is generally presumed that

Congress acts intentionally and purposely in the disparate inclusion

or exclusion.”) (internal quotations and citation omitted); United

States v. Youssef, 547 F.3d 1090, 1094–95 (9th Cir. 2008). Had

Congress wanted to specify that offers criminalized by § 2251A(b)

must be made directly to the minor or their legal guardian, it could

have done so. See Russello, 464 U.S. at 23; Youssef, 547 F.3d at

1094–95.

     The single case Clemans cites in support of his argument,

United States v. Korab, 893 F.2d 212 (9th Cir. 1989), does not

support his asserted interpretation of § 2251A(b). In Korab, this

Court interpreted an entirely different statute that criminalized an



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entirely different type of communication—a “communication

containing any threat . . . to injure the person of another.” 18 U.S.C.

§ 875(b); Korab, 893 F.2d at 213. Applying the plain language of that

statute, Korab’s interstate call to his co-defendants “asking them to

extort a man” (AOB at 42) was not itself a “communication

containing a threat.” Id. at 214 (“The plain language of section

875(b) makes clear that the communication must contain threats

directed toward the victim.”). Here, by contrast, the plain language

of § 2251A(b) does encompass Clemans’s conduct.

     Clemans’s interpretation would lead to absurd results. Any

defendant who wanted to take control of a child from their guardian

to produce child pornography could insulate himself from the

application of § 2251A(b) by simply conveying the offer through an

accomplice. This result would contravene the intent of Congress,

which passed this statute to more effectively target sexual

exploitation of minors. See United States v. Frank, 599 F.3d 1221,

1231 (11th Cir. 2010) (“Section 2251A is part of a comprehensive

scheme created by Congress to eradicate the sexual exploitation of

children . . . and . . .warrants a broad sweep.”); see also United States



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v. Thomas, 893 F.2d 1066, 1068 (9th Cir. 1990) (citing 18 U.S.C.

§§ 2241–2257 in concluding “Congress has created a comprehensive

statutory scheme to eradicate the sexual exploitation of children”);

United States v. Bredimus, 234 F. Supp. 2d 639, 649–50 (N.D. Tex.

2002), aff’d, 352 F.3d 200 (5th Cir. 2003) (finding that, without

extraterritorial application of § 2251A, “the comprehensive scheme to

combat international . . . sexual exploitation and abuse of children

could not be effectively implemented” as Congress intended because

the “conduct proscribed by § 2251A(b)(2) would . . . escape the

purview of federal authorities”).

     If Clemans’s interpretation were accepted, anyone who, like

Clemans, used an accomplice to identify or make arrangements with

minor victims in a foreign country could not be prosecuted. Only

those rare individuals who took the extraordinary risk of seeking out

a minor’s parent or legal guardian directly could be convicted.

Prosecutions of sex tourists under § 2251A(b) would be all the more

rare because such communications would be unlikely to occur

through a means or facility of interstate or foreign commerce.




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      By contrast, it is hard to imagine a scenario in which a

defendant’s offers to purchase or obtain custody or control of minors

could be more explicit than Clemans’s offers. See, e.g., SER 194 (“I

need to be able to keep the girl over night and time for photos. . . . If I

offer Angel’s mother $150–$200 USD, I would need to keep her for

four days and nights. I do not want Angel arguing about what I do

with her.”); 279 (“[I]f Angel is available and you think she is able to

have sex with me, I will buy her.”). If § 2251A(b) is held inapplicable

to such conduct, that statute’s reach will be severely circumscribed.

                  Clemans’s offers to purchase or obtain custody
                  and control of his victims also affected foreign
                  commerce.

      The evidence was also sufficient to establish the alternate basis

for satisfying the statute’s jurisdictional provision: that the offer

“was communicated or transported . . . affecting interstate or foreign

commerce.” 18 U.S.C. § 2251A(c)(2).

      As the evidence demonstrated, and as the government argued

at trial, Clemans’s numerous offers to Tandeg affected foreign

commerce because they prompted the transfer of thousands of




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dollars, via Western Union, from Clemans’s United States bank

account to Tandeg in the Philippines. SER II 403-81; SER III 806.

     For example, on September 17, 2014, Clemans sent $500 to

Tandeg in Manila, which was withdrawn from his account in

California. SER II 453-456; SER III 795. Less than five minutes

after telling her that he “completed the money transfer,” Clemans

told Tandeg, “In return we get Nicole for a photo shoot and sex with

me for 3 days. . . . I want you to get a confirmation in writing Lyan

from the parents.” SER 228.

     Similarly, on October 20, 2014, Clemans discussed his offer to

purchase Angel’s virginity from the orphanage, explaining, “It will be

more than just sex with her. I will need at least 7 more photo shoots

in the next few months.” SER 263. About 30 minutes later, he

transferred $600 to Tandeg in Manila from his California account.

SER II 412, 457-60. Seconds before he sent Tandeg the tracking

number and instructions to retrieve the funds, Clemans said, “I will

need the additional photoshoots and their promise to take care of her

until I arrive.” SER 265. Tandeg responded, “Now Angel is all

yours.” SER 265.



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      The evidence was therefore also sufficient for any rational jury

to find that the offers to purchase or obtain custody and control of the

victims affected foreign commerce. This provides an independent

ground to affirm Clemans’s conviction.

            The district court correctly found Clemans’s did
            not demonstrate acceptance of responsibility.

                  Standard of Review

      This Court reviews a district court’s selection and

interpretation of Guidelines factors de novo, its factual findings for

clear error, and its application of the Guidelines to particular facts

for abuse of discretion. United States v. Gasca-Ruiz, 852 F.3d 1167,

1170 (9th Cir. 2017) (en banc).

      When a defendant has failed to object to the district court’s

sentencing calculations, this Court reviews those determinations for

plain error. United States v. Depue, 912 F.3d 1227, 1233 (9th Cir.

2019). Plain error is “(1) error, (2) that is plain, and (3) that affects

substantial rights. If all three conditions are met, an appellate court

may then exercise its discretion to notice a forfeited error, but only if

(4) the error seriously affects the fairness, integrity, or public

reputation of judicial proceedings.” Johnson v. United States, 520


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U.S. 461, 467 (1997) (internal quotations and citations omitted).

“Plain” error is error that is “clear” or “obvious.” Id. (quoting United

States v. Olano, 507 U.S. 725, 734 (1993)).

                  Clemans did not demonstrate acceptance of
                  responsibility.

     The court did not abuse its discretion in finding Clemans was

not entitled to a two-level reduction for “acceptance of responsibility.”

Under § 3E1.1(a), the offense level may be decreased by two levels

“[i]f the defendant clearly demonstrates acceptance of responsibility

for his offense.” Clemans bears the burden of demonstrating how he

has accepted responsibility for his actions. United States v. Ochoa-

Gaytan, 265 F.3d 837, 843 (9th Cir. 2001). Further, acceptance of

responsibility requires “admission of moral wrongdoing” and “the

expression of contrition and remorse.” United States v. Gallant, 136

F.3d 1246, 1248 (9th Cir. 1998); United States v. Molina, 934 F.2d

1440, 1451 (9th Cir. 1991) (“The sentencing judge must consider all

the evidence bearing on the issue of the defendant’s contrition—or

lack thereof—and decide whether he has made the requisite

showing.”). The court properly found that Clemans made no such

showing here.


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      The court properly considered all of the factors Clemans now

argues: his guilty pleas, his limited assistance to authorities, and his

claim he did not assert a “factual innocence defense” at trial. ER 5–

6; AOB at 50–52. The court’s comments evidence a careful weighing

of these factors and that the court considered it a “close legal

question.” ER 6. Nevertheless, the judge concluded that, “given the

totality of the charges in this case,” he “[did not] see . . . a full and

complete acceptance of responsibility of all these crimes.” ER 6. This

conclusion is amply supported by the record.

      None of the facts Clemans identifies show contrition, remorse,

or admission of moral wrongdoing. He never truthfully admitted the

conduct comprising all of his offenses. While he entered a guilty plea

to three of the six charges against him, he did not plead guilty to the

arguably more serious charges. It would have been reasonable for

the court to conclude that Clemans’s guilty plea was strategic. The

evidence proving production and receipt of child pornography was

overwhelming, and his guilty pleas prevented him from having to

make frivolous arguments to the jury. Those pleas also allowed his

counsel to argue, as he did, that Clemans was not disputing



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authorship of the chats or that child pornography was produced at

his direction, but was merely disputing the government’s overreach

in charging more serious crimes than it could prove. SER III 802-04,

807-09 (“This is a case about child pornography. It’s not a case about

buying kids.”).

     Further, while perhaps not asserting “factual innocence,”

Clemans did challenge certain factual contentions at trial. For

example, Clemans challenged the assertion that he truly intended to

travel to engage in illicit sex with young girls. In his opening

statement, defense counsel described Clemans’s voluminous chats

with his accomplices as mere “[w]ords,” “boasts,” and “internet

chatter.” SER III 804. His counsel asserted the jury would hear “no

evidence of actual criminal actions for the three charges” at issue.

SER III 804. Counsel stated that, although Clemans told multiple

people “I’m coming to the Philippines to have sex with those little

girls,” Clemans “never did.” SER III 803.

     This statement was directly contradicted by voluminous

evidence, including Clemans’s own words and bank statements, that

Clemans indeed traveled to Manila in November 2013 for sex with



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underage girls. See SER III 803. In fact, when Clemans arrived to

meet Cruz at their pre-arranged meeting point, he was irate and

badgered Cruz to fulfill her promises to provide him with young girls

for sex. SER 65-66, 74-75. But Clemans turned to Malicdem, who

allowed him to fulfill the purpose of his trip. He reported back to her

that, of the two girls she brought him, the younger one was “perfect,”

but the older one “did not want to fuck” and “was not virgin either.”

SER 90-91. Clemans raped her anyway. SER 91. Later he gloated

to Cruz that he met young girls, “[w]ith much success! :x” SER 76.

     Despite this evidence, Clemans’s counsel told the jury,

“Actually meeting young girls, touching girls, you’re not going to hear

from a single victim witness or anybody that he actually did.” SER

III 804.

     This is more than simply a “legal challenge to the applicability

of 18 U.S.C. § 2423,” as Clemans now argues. It is certainly not the

“rare situation,” contemplated by the Guidelines, where a defendant

“clearly demonstrate[s] an acceptance of responsibility for his

criminal conduct even though he exercises his constitutional right to

a trial.” U.S.S.G. § 3E1.1, cmt. n.2.



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     Moreover, Clemans’s post-trial statements are profoundly

inconsistent with any expression of contrition or remorse, or

admission of moral wrongdoing. When interviewed by the probation

officer, Clemans did not admit to or describe any of his criminal

conduct, even the conduct to which he plead guilty, and expressed no

remorse. Instead, Clemans ignored the heinous nature of his conduct

and was unwilling to acknowledge or grapple with it. He made the

astounding claim that “he has always been good to his fellow man,

and has never gone looking for trouble,” that “he has always wanted

to help people if he could,” and that “[h]is parents instilled good

values and morals in him.” PSR ¶ 26. Needless to say, Clemans’s

self-descriptions are inconsistent with any recognition of his years of

despicable crimes or their consequences for his victims.

     Clemans also told the probation officer that “when he lived in

foreign countries, he would always try to ‘give back’ to the

community,” and described how he “would give orphanages rice and

other items” and do “other ‘acts of kindness.’” PSR ¶ 26. Clemans’s

self-serving statements stand in stark contrast to his unguarded

statements to Tandeg that he was seeking orphans to victimize. SER



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205 (“Does the recruiter work only at orphanages? It is probably the

best place for recruitment.”); 206 (Ex. 44-006) (“Nicole has no parents

right? Orphanage?”). The unspoken preface to each of Clemans’s

claims is: “Except for the several children I have raped and planned

to rape, and the thousands of images of child pornography I caused to

be produced and collected . . .” Regardless, it cannot reasonably be

maintained that Clemans has made any real effort to account or

atone for his offenses.

     In fact, as the government argued, Clemans was incapable of

even uttering the words to describe his conduct—even the crimes to

which he plead guilty. As the PSR stated: “The defendant explained

that he needs treatment for his ‘addiction.’ When asked what

addiction he was referring to, he noted ‘for the charges.’” PSR ¶ 27.

Recognizing that Clemans was incapable even of saying the words

“child pornography,” “sexual attraction to children,” or describing in

any other way his “addiction” to images (at least) of underage girls is

not equivalent to improper consideration of Clemans’s compliance

with his attorney’s advice not to discuss the offense. In any event,

the court did not “adopt the government’s argument” on this point, as



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Clemans argues, but simply stated: “I don’t see, as the government

argues, under these circumstances a full and complete acceptance of

responsibility of all these crimes.” ER 6. The court was correct, and

there was nothing improper about expressing agreement with the

government on the ultimate conclusion.

     When sentenced, Clemans again had the opportunity to express

contrition or recognition of the harm he caused, if only as to those

charges to which he pleaded guilty. He said nothing. ER 23.

     Considering all of the facts, it was also appropriate for the court

to conclude that Clemans’s post-arrest assistance to authorities by

providing access to his Yahoo! account was insufficient to

demonstrate acceptance of responsibility. While Clemans provided

his password, he did not do so immediately, but only after some time

had passed. SER III 764. He did not offer to provide any other

assistance in locating or apprehending Tandeg or Atad or in

recovering all of the victims of his conduct with those accomplices.

Nor did he offer any information or assistance whatsoever regarding

his 2013 criminal conduct with Cruz and Malicdem. Clemans




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arguably made another strategic decision to do just enough to

support a claim that he assisted investigators.

       The district court was therefore correct to conclude that, under

the totality of the circumstances, Clemans had not met his burden to

clearly demonstrate acceptance of responsibility for his offenses.

            The district court correctly added two levels to
            groups four and five because Clemans’s offense
            involved sexual acts and sexual contact between
            Angel, Ishin, and Nicole.

                  Standard of Review

       See Section IV.A., supra.

                  Clemans’s offense involved sexual acts and
                  sexual contact between Angel, Ishin, and
                  Nicole.

       Record evidence supports the court’s conclusion that Clemans’s

offenses involved the commission of sexual acts or sexual contact 10



  10 While Clemans’s opening brief refers only to a “sexual act” as
defined in 18 U.S.C. § 2246(2), § 2G2.1(b)(2)(A) provides that the
offense level may also be increased by two levels if the offense
involved “sexual contact” as defined in § 2246(3). Sexual contact is
shown by any “intentional touching, either directly or through the
clothing, of the genitalia, anus, groin, breast, inner thigh, or buttocks
of any person with an intent to abuse, humiliate, harass, degrade, or
arouse or gratify the sexual desire of any person.” 18 U.S.C. §
2246(3).


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for each of the three minor victims. Each posed for photographs

taken by Tandeg, at Clemans’s direction, that included some form of

sexual act or sexual contact.

     Clemans does not dispute that at least one such image was

created of the seven-year-old Angel, as reflected in the PSR. PSR

¶ 49. But the images produced at Clemans’s direction included

multiple examples of sexual acts and sexual contact, affecting each of

his three victims. In his chats with Tandeg, Clemans discussed

another image of Angel, which also includes ten-year-old Ishin, in

which Ishin was spreading Angel’s vulva with her fingers. SER II

397. Clemans told Tandeg that he was “nervous” about Ishin

spreading Angel’s labia too wide and accidentally tearing her

hymen.” SER II 397. In another image, Angel is pictured spreading

Ishin’s vulva and anus with her hands. AAB Ex. 1.

     There is also no question that nine-year-old victim Nicole

engaged in sexual acts and sexual conduct in multiple images

produced by Clemans and Tandeg. For example, Tandeg sent

Clemans two different images in which Nicole is spreading Angel’s

anus open with her hands. AAB Ex. 2, AAB Ex. 3. In another image,



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Nicole’s hand is touching Angel’s vulva and Angel’s hand is touching

Nicole’s breast.11 AAB Ex. 4.

       All of these images of Angel, Ishin, and Nicole constitute both

“sexual acts” and “sexual conduct” under § 2246, and were made

available to Clemans’s counsel for inspection in discovery. SER III

779-83. That the PSR referred to other images of Ishin and Nicole

that may not have met the statutory definition does not create error

because this Court “may affirm the district court’s sentencing

decision on any basis supported by the record.” United States v.

Adkins, 883 F.3d 1207, 1213 (9th Cir. 2018) (internal quotations

omitted).

       The district court was therefore correct to apply these two-level

enhancements for groups four and five as well.

            The conspiracy guideline did not require any
            reduction in Clemans’s offense level.

                  Standard of Review

       See Section IV.A., supra.




  11The images, AAB Exs. 1-4, have been filed under seal with this
Court and Clemans’s appellate counsel was invited to inspect them.


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                   Clemans’s conduct satisfied the exception to §
                   2X1.1, as did Tandeg’s, and application of that
                   guideline to his conspiracy convictions would
                   not have affected his sentencing range.

      There was no plain error in the district court’s asserted failure

to apply § 2X1.1 to Clemans’s conspiracy convictions and application

of that guideline would not have affected his sentencing range.

Clemans was not entitled to a three-level reduction under

§ 2X1.1(b)(2) for either of his conspiracy offenses. The three-level

reduction is not applied if: (1) “the defendant or a co-conspirator

completed all the acts the conspirators believed necessary on their

part for the successful completion of the substantive offense;” or (2)

“the circumstances demonstrate that the conspirators were about to

complete all such acts but for apprehension or interruption by some

similar event beyond their control.” U.S.S.G. § 2X1.1(b)(2). These

exceptions apply to both of Clemans’s conspiracy offenses.

      Clemans admitted to producing child pornography in his guilty

plea and does not now argue that the substantive offense was not

completed. AOB at 44–45. That admission satisfies the exceptions

in § 2X1.1(b)(2). Clemans’s conspiracy to travel with intent to engage

in illicit sex also satisfies those exceptions.


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     First, Tandeg completed all the acts necessary on her part for

the successful completion of the offense. Her role in the conspiracy

was to locate, obtain custody of, and photograph victims for Clemans

to select for sex. She completed all of those acts multiple times, as

the court found. SER II 411-17; SER III 616-17. They repeatedly

discussed Clemans’s future travel to the Philippines and where the

sex would take place, and Tandeg assured Clemans the victims

would be ready when he arrived. SER II 372, 380, 387; SER III 798.

All that remained for Clemans to complete the substantive offense

was for him to travel in foreign commerce for the purpose of engaging

in illicit sexual conduct. See 18 U.S.C. § 2423(b); ER 38. Tandeg was

not required to actually provide minors for sex in order for Clemans

to complete the offense; travel in foreign commerce with the required

mens rea would have sufficed. Compare 18 U.S.C. § 2423(b) with 18

U.S.C. § 2423(c). The three-level reduction therefore does not apply.

     Second, the evidence also established that the co-conspirators

nearly completed the substantive offense, but were interrupted by

Clemans’s apprehension. After his arrest on state charges in late

April 2015, Clemans continued to discuss his future travel plans with



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Tandeg, sent her an additional $300, and received images Tandeg

had recently created with Angel and Ishin. SER II 378-89, 417; SER

III 798. In July 2015, days before he was arrested on federal charges

in Sacramento, Clemans told Tandeg he planned to return to Asia

“around the first of September” and discussed coming to visit her in

Manila “for a week with a few of the girls.” SER III 798. Clemans

told Tandeg, “I will get my passport back after my hearing in court.”

SER III 798. The following week, however, Clemans was arrested,

preventing him from completing the conspiracy. SER III 631. See ER

38.

        At the time of his arrest, the conditions were set and Clemans

was preparing to travel. This is not a case where “the arrest

occur[red] well before the defendant or any co-conspirator ha[d]

completed the acts necessary for the substantive offense.” U.S.S.G.

§ 2X1.1, cmt. n.4. There was no plain error in the district court’s

failure to apply a three-level reduction under § 2X1.1(b)(2).

        Finally, the application of § 2X1.1 would not have affected the

application of § 2G2.1(b)(4) in group three. That guideline provides

for a four-level enhancement “[i]f the offense involved material that



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portrays (A) sadistic or masochistic conduct or other depictions of

violence; or (B) an infant or toddler.” U.S.S.G. § 2G2.1(b)(4).

Clemans does not dispute that he possessed images and videos in his

possession that portrayed sadistic, masochistic, or violent conduct, or

that he possessed pornographic images of infants and toddlers.

Those images are detailed in paragraph 18 of the PSR. Clemans

instead argues those images do not qualify as “intended offense

conduct that can be established with reasonable certainty” under

§ 2X1.1(a). But if the images are considered relevant offense conduct

under § 2G2.1(b)(4), § 2X1.1(a) does nothing to alter that conclusion.

     The commentary to § 2X1.1 clarifies that the phrase “intended

offense conduct” was meant to enlarge the scope of offense conduct

beyond merely what has actually occurred. U.S.S.G. §2X1.1, cmt.

n.2; United States v. Cabrera, 288 F.3d 163, 169–70 (5th Cir. 2002)

(noting that, unless otherwise specified, the Guidelines’ definition of

“relevant conduct” that may be considered is limited to “conduct that

has occurred”); cf. United States v. Depew, 932 F.2d 324, 330 (4th Cir.

1991) (“Under the conspiracy guideline, it is obvious that the

intended offense conduct carries the same weight as actual



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conduct.”). There is no authority for Clemans’s implicit assertion

that § 2X1.1(a) was intended to narrow the scope of conduct that

could be considered in sentencing for a conspiracy offense.

      Because the application of § 2X1.1(a) would not have affected

Clemans’s offense level or resulting sentence, there was no effect on

his substantial rights and no plain error.

            The district court did not plainly err by applying
            an enhancement for possession of pornography
            that was sadistic, masochistic, and involved infants
            and toddlers.

                  Standard of Review

      See Section IV.A., supra.

                  There was no ex post facto violation because
                  the 2014 and 2016 Guidelines contain §
                  2G2.1(b)(4), and application of the
                  enhancement to relevant conduct for the
                  receipt count could not have affected
                  Clemans’s sentencing range.

      It was not plain error to apply a four-level enhancement with

respect to group three. As noted above, § 2G2.1(b)(4)—the guideline

applicable to production of child pornography—provides for a four-

level enhancement “[i]f the offense involved material that portrays

(A) sadistic or masochistic conduct . . .; or (B) an infant or toddler.”

U.S.S.G. § 2G2.1(b)(4). While the images produced by Clemans and

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Tandeg did not include such material, there is no dispute Clemans

received multiple such images. PSR ¶¶ 18, 50.

     As an initial matter, there was no ex post facto violation here

because the images Clemans possessed satisfied offense

characteristics in both the 2014 and 2016 versions of § 2G2.1(b)(4).

Section 1B1.11 directs that the sentencing court shall use the

Guidelines Manual in effect on the date of sentencing, unless use of

such manual would violate the Ex Post Facto Clause. U.S.S.G.

§ 1B1.11(a), (b). Here, both Manuals included a four-level

enhancement for sadistic, masochistic, or violent material, and

Clemans possessed such material. PSR ¶¶ 18, 50. Use of the 2016

Manual therefore posed no risk that Clemans would receive a higher

sentence, eliminating any potential ex post facto violation, and the

court’s use of the 2016 Manual was correct. Peugh v. United States,

569 U.S. 530, 544 (2013); U.S.S.G. § 1B1.11(a), (b).

     Further, because group three, to which this four-level

enhancement was applied, also included Clemans’s offense of receipt

of child pornography, the court could reasonably have concluded that

such images were relevant to one of the “offense[s] of conviction”



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included in this group.12 PSR ¶ 42; U.S.S.G. § 1B1.3(a)(1) (advising

offense level shall be determined based on “all acts and omission

committed . . . by the defendant . . . that occurred during the

commission of the offense of conviction”).

       However, under § 1B1.3(a)(2), “all acts and omissions . . . that

were part of the same course of conduct or common scheme or plan as

the offense of conviction” may only be considered “with respect to

offenses of a character for which § 3D1.2(d) would require grouping

of multiple counts.” Section 2G2.2 (governing receipt) is such an

offense, but § 2G2.1 (governing production) is not. U.S.S.G.

§ 3D1.2(d). Receipt of child pornography was an “offense of

conviction” in group three but it did not provide the “offense level

applicable to the Group” because it was not the most serious count.

See U.S.S.G. § 3D1.3(a). Because there was ambiguity in whether

the court could consider Clemans’s entire course of conduct with

respect to the receipt of child pornography in group three, any error




  12 The guidelines for production of child pornography and receipt
of child pornography both contain the same enhancement. Compare
U.S.S.G. § 2G2.1(b)(4) with U.S.S.G. § 2G2.2(b)(4).


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was not “clear” or “obvious,” and was therefore not plain. Olano, 507

U.S. at 734 (1993).

     Moreover, any error in applying this enhancement would not

have changed Clemans’s Guidelines range, and therefore cannot

have affected his substantial rights. Reducing group three by four

levels would have resulted in a revised offense level of 42. To

calculate the new combined offense level, the units would have been

determined as follows (changes emphasized):

Group                     Adjusted Offense Level         Units
Group one                 34                             0.5
Group two                 36                             0.5
Group three               42                             1.0
Group four                42                             1.0
Group five                42                             1.0
Group six                 38                             1.0
Total Units                                              5.0


     As the chart depicts, the reduced offense level for group three

would have resulted in an increase in the units assigned to three

other groups. U.S.S.G. § 3D1.4. Five units would have required

adding four levels to the base offense level of 42, resulting in a

combined offense level of 46. Id. This would still have been three

levels higher than the highest offense level in the Guidelines


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sentencing table. See U.S.S.G. Ch. 5, Part A, n.2. Clemans’s

advisory range would have remained life in prison, and the error

could not have affected his substantial rights or caused any

prejudice. See United States v. Molina-Martinez, 136 S. Ct. 1338,

1346 (2016) (acknowledging that “[t]here may be instances when,

despite application of an erroneous Guidelines range, a reasonable

probability of prejudice does not exist”).

           The addition of a separate offense group for
           Clemans’s crime of buying children was not plain
           error.

                  Standard of Review

     See Section IV., A., supra.

                  Clemans’s crime of buying children poses a
                  distinct risk of harm.

     There was also no plain error in the district court’s creation of a

separate offense group—group six—for Clemans’s conviction for

buying children. While the court (and the PSR) did not explain why

this count was grouped separately, § 3D1.2 provides that counts

“involving substantially the same harm shall be grouped together

into a single Group.” Under § 3D1.2(b), counts are found to involve

substantially the same harm when they “involve the same victim and


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two or more acts or transactions connected by a common criminal

objective or constituting part of a common scheme or plan.” But the

commentary to § 3D1.2(b) explains that this subsection “does not

authorize the grouping of offenses that cannot be considered to

represent essentially one composite harm.” Id., cmt. n.4.

     Here, it was reasonable for the district court to conclude that

the offense of buying children posed such a distinct risk of harm to

the minor victims that it was not part of “one composite harm” with

the offenses of production and conspiracy to produce child

pornography, and receipt of child pornography. Buying children

under § 2251A(b) requires proof that the defendant purchased or

obtained custody or control of a minor, or offered to do so, with

knowledge that the minor would be portrayed in child pornography.

This offense therefore necessarily entails removing a child from the

care and protection of their parent or regular legal guardian,

creating an additional risk of harm and imposing a more severe

trauma. To create a separate group based on this distinct harm was

not an error that was “plain.”




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      However, even if this offense should have been included in

groups three, four, and five, any such error did not affect Clemans’s

substantial rights because it had no impact on his sentencing range.

Assuming the revised Guidelines calculation described above as the

starting point (see supra, Section IV.E), the removal of group six

would have resulted in four total units, rather than five. Under

§ 3D1.4, this would still have required adding four levels to the base

offense level of 42, again resulting in a combined offense level of 46.

Clemans would still remain one of the “rare cases” with a total

offense level of more than 43. U.S.S.G. Ch. 5, Part A, n.2. His

advisory Guidelines range would remain life in prison.

      Thus, even if Clemans is correct, the creation of an additional

group did not cause him any prejudice or affect his substantial

rights. See Molina-Martinez, 136 S. Ct. at 1346 (acknowledging that

“[t]here may be instances when, despite application of an erroneous

Guidelines range, a reasonable probability of prejudice does not

exist”).




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                                CONCLUSION

     The government respectfully requests that this Court affirm

Clemans’s convictions and sentence.

                                       Respectfully submitted,

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                  STATEMENT OF RELATED CASES

  The government is not aware of any related cases.




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                      CERTIFICATE OF COMPLIANCE

     This brief is accompanied by a motion for leave to file a longer

brief pursuant to Ninth Circuit Rule 32-2(a) and is 16,051 words,

excluding the portions exempted by Fed. R. App. P. 32(f), if

applicable. The brief’s type size and type face comply with Fed. R.

App. P. 32(a)(5) and (6).



DATED: August 9, 2019                   /s/ André M. Espinosa
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